                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                  No. 02-23-00494-CV

VIRGINIA MORMAN, Appellant                   §    On Appeal from the 235th District
                                                  Court

V.                                           §    of Cooke County (CV23-00198)

                                             §    August 22, 2024

BISHOP ENERGY D/B/A ENDERBY                  §    Memorandum Opinion by Chief
GAS, Appellee                                     Justice Sudderth


                                     JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was error in the trial court’s judgment. It is ordered that the judgment of the trial

court is reversed and the case is remanded to the trial court for a new trial.

      It is further ordered that Bishop Energy d/b/a Enderby Gas shall pay all costs

of this appeal, for which let execution issue.

                                        SECOND DISTRICT COURT OF APPEALS

                                        By /s/ Bonnie Sudderth
                                           Chief Justice Bonnie Sudderth
